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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION

 In re:                                         )
                                                )
 INFOW, LLC, et al.,                            )       CASE NO. 22-60020
                                                )
                  Debtors.                      )       Chapter 11 (Subchapter V)
                                                )
                                                )       (Jointly Administered)

                                   NOTICE OF APPEARANCE

          Please take notice that the undersigned counsel and the law firm of Kane Russell Coleman

Logan PC hereby enter an appearance on behalf of W. Marc Schwartz. The undersigned hereby

requests that all notices given or required to be given in this case and any cases consolidated

herewith, and all papers served or required to be served in this case, and any cases consolidated

herewith, be given to and served upon:

                                       Michael P. Ridulfo
                                        Bar No. 16902020
                                        SDTX No.: 27086
                                KANE RUSSELL COLEMAN LOGAN PC
                                   5151 San Felipe, Suite 800
                                      Houston, Texas 77056
                                       Ph: (713) 425-7400
                                       Fax: (713) 425-7700
                                       mridulfo@krcl.com

          This request encompasses all notices, copies and pleadings referred to or contemplated in

the Bankruptcy Code and Rules, including without limitation, notices of any orders, motions,

demands, complaints, plans, disclosure statements, petitions, pleadings, requests, applications and

any other documents brought before the Court in this case, and any hearings, trials or proceedings

related thereto, which affect or otherwise relate to the above case.




                                                                              9307269 v1 (72053.00004.000)
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Dated: May 20, 2022
                                                  Respectfully submitted,

                                                  KANE RUSSELL COLEMAN LOGAN PC

                                                By: /s/ Michael P. Ridulfo
                                                    Michael P. Ridulfo
                                                     SDTX No.: 27086
                                                    State Bar No. 16902020
                                                    5151 San Felipe, Suite 800
                                                    Houston, Texas 77056
                                                    Ph: (713) 425-7400
                                                    Fax: (713) 425-7700
                                                    mridulfo@krcl.com

                                                    Attorney for W. Marc Schwartz

                               CERTIFICATE OF SERVICE

      This is to certify that on May 20, 2022, a true and correct copy of the foregoing Notice of
Appearance was served via the Court's CM/ECF notification system.


                                                      /s/ Michael P. Ridulfo
                                                          Michael P. Ridulfo




                                                                            9307269 v1 (72053.00004.000)
